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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF VIRGINIA
ROANOKE DIVISION
UNITED STATES OF AMERICA
Vv. : Case No. 7:19-CR-00024

KEHANA RENEE JAMES

STATEMENT OF FACTS

The following statement of facts is incorporated by reference as part of the plea
agreement in Case No. 7:19-CR-24 between the United States and the defendant,
Kehana Renee James. This statement of facts briefly summarizes the facts and
circumstances surrounding the defendant’s criminal conduct in this case. It does not
contain all of the information obtained during the investigation and applicable to an
accurate Presentence Investigation Report and Sentencing Guidelines Calculation. It
is not protected by proffer agreement or any other agreement and shall be wholly
admissible at trial notwithstanding any rules or statutes to the contrary.

Kehana James hereby agrees and stipulates that the following information is
true and accurate:
al. In a conspiracy that existed between approximately January 2017 and
September 2018, Kehana Renee James knowingly and intentionally conspired with
other individuals to possess with the intent to distribute and distribute mixtures or
substances containing methamphetamine and heroin. In particular, and with respect

to her plea agreement, Ms. James was part of a conspiracy with Stephen Cornell
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Vaughn and others, the object of which was to possess with the intent to distribute
and to distribute at least 500 grams of methamphetamine, its salts, isomers, and salts
of its isomers, a Schedule II controlled substance, and at least 100 grams of a mixture
and substance containing heroin, a Schedule I controlled substance.

2. As part of the conspiracy, Ms. James acquired methamphetamine and heroin
from Stephen Cornell Vaughn at different points during the conspiracy and then
redistributed these substances to others within the Western District of Virginia,
including co-conspirator, Nora Harper and others. For example, on July 3, 2017, Nora
Harper arranged by phone to purchase a quantity of heroin from Stephen Cornell
Vaughn. At Stephen Vaughn’s direction, Ms. James transported the heroin to Nora
Harper to make the sale, returning proceeds of the transaction to Stephen Vaughn.
Laboratory analysis establishes that the substance sold by Ms. James on this date
was a measurable quantity of a mixture and substance containing heroin, a Schedule

I controlled substance.

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Anthony Anderson, Esq.
Counsel for Defendant

Date: June 2, 2021 Baurh py wstin—

Kart Munro
Assistant a States Attorney
